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                            United St ates District Court
                          For the District of South Ca rolina
                                  Beaufort Divis ion
     SARA B. GLASS,

                          Plaintiff,
         v.                                                      Civil Action No. 9:17-cv-
                                                                     02380-PMD-MGB
     ROCKWELL COLLINS, INC.; and LOCKHEED
     MARTIN CORP.; and, RFD BEAUFORT, INC.;
     and, LEE TINCHER; and, BRIAN GREALISH;                           SECOND
                                                                 AMENDED COMPLAINT
                          Defendants.




        The Plaintiff Sara B. Glass, complaining of the Defendants herein, submits her

Second Amended Complaint in this action and would respectfully allege as follows:

                 PARTIES, JURISDICTION, FACTUAL BACKGROUND

1.      The Plaintiff, Sara B. Glass (hereafter “Plaintiff” or “Sara”), is an individual citizen

        and resident of Beaufort County, South Carolina.          At the time of the events

        complained of herein, Plaintiff was at all times employed by Defendant Rockwell

        Collins, Inc. as a Customer Support Specialist at the Beaufort Pilot Fit Facility.

2.      Plaintiff began working for Defendant Rockwell Collins, Inc. in October 2014, and

        remained so employed until the time of her involuntary termination by Rockwell in

        December 2015.

3.      Defendant Rockwell Collins, Inc. (hereafter “Rockwell”) is upon information and

        belief a foreign corporate entity that is registered pursuant to the laws of the State

        of Delaware and that maintains its home office or principal place of business at

        400 Collins Road NE, Cedar Rapids, Iowa 52498.



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4.      At the time of the events described herein, Defendant Rockwell was Plaintiff’s

        employer, and Defendant Rockwell transacts business, maintains agents and

        employees, and has otherwise purposely availed itself to the jurisdiction of the

        State of South Carolina, including particularly Beaufort County, South Carolina.

5.      Defendant Lockheed Martin Corp. (hereafter “Lockheed”) is upon information and

        belief a foreign corporate entity that maintains its home office or principal place of

        business at 6801 Rockledge Drive, Bethesda, Maryland 20817.

6.      At the time of the events described herein, Defendant Lockheed was the employer

        of Defendant Lee Tincher, and Defendant Lockheed transacts business, maintains

        agents and employees, and has otherwise purposely availed itself to the

        jurisdiction of the State of South Carolina, including particularly Beaufort County,

        South Carolina.

7.      Defendant RFD Beaufort, Inc. (hereafter “RFD”) is upon information and belief a

        foreign corporate entity that maintains its home office or principal place of business

        at 1420 Wolf Trail, Sharon Center, OH 44274.

8.      At the time of the events described herein, Defendant RFD was the employer of

        Defendant Brian Grealish, and Defendant RFD transacts business, maintains

        agents and employees, and has otherwise purposely availed itself to the

        jurisdiction of the State of South Carolina, including particularly Beaufort County,

        South Carolina.

9.      Each and all of the corporate Defendants herein, Rockwell, Lockheed, and RFD

        are large corporate entities with more than 100 employees.




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10.   Each and all of these corporate Defendants enjoy substantial wealth and profits

      from their business activities, including particularly within Beaufort County, South

      Carolina.

11.   Upon information and belief, Defendant Lee Tincher (hereafter “Tincher”) is a

      citizen and resident of Beaufort County, South Carolina.

12.   Defendant Tincher was at all times herein an agent and employee of Defendant

      Lockheed and was acting in the course and scope of his employment with

      Defendant Lockheed. Defendant Tincher is being sued both in his individual

      capacity for tortious conduct committed within Beaufort County, South Carolina,

      and in his representative capacity as an agent and employee of Defendant

      Lockheed.

13.   Upon information and belief, Defendant Brian Grealish is a citizen and resident of

      Beaufort County, South Carolina.

14.   Defendant Grealish was at all times herein an agent and employee of Defendant

      RFD and was acting in the course and scope of his employment with Defendant

      RFD. Defendant Grealish is being sued both in his individual capacity for tortious

      conduct committed within Beaufort County, South Carolina, and in his

      representative capacity as an agent and employee of Defendant RFD.

15.   Each and all of the corporate Defendants herein are responsible for the tortious

      conduct and omissions committed by their agents and employees during the

      course and scope of their employment, pursuant to the legal principle of

      respondeat superior and all other applicable law.




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16.   Plaintiff was hired by Defendant Rockwell in October 2014 to work at the Beaufort

      Pilot Fit Facility, where a team was created of six full time employees to fit active

      duty pilots with necessary equipment for flying F-35 aircraft.

17.   Included on Plaintiff’s team of six persons at this facility were two employees of

      Rockwell, and two employees of Lockheed, and two employees of RFD, all of

      which was known to all Defendants at all times herein.

18.   Plaintiff was the only female on this team, and she worked in an environment that

      was dominated by males.

19.   The facility manager at this location was Defendant Lee Tincher, and all team

      members deferred to Tincher and viewed him as the supervisory member of the

      Beaufort Pilot Fit Facility.

20.   Through most of her tenure at this employment position, Plaintiff received

      favorable comments and reviews from her team members and the facility manager

      about her diligent work and good job performance.

21.   Beginning at a point in time near the end of July 2015, things started to change,

      and Plaintiff was subjected to sex discrimination, vulgarities, threats of death and

      physical harm, and a hostile work environment, all perpetrated by and known by

      the Defendants herein.

22.   Plaintiff first experienced a hostile work environment and sex discrimination in late

      July 2015, when Defendant Grealish, while employed by Defendant RFD, called

      Plaintiff a “cunt” in the workplace.

23.   Plaintiff immediately complained about this offensive behavior and demanded that

      it not be repeated, both to Defendant Grealish and Defendant Tincher.



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24.   Defendant Tincher, while employed by Defendant RFD, witnessed this offensive

      remark directed toward Plaintiff and failed to take corrective action, instead

      choosing to snicker and walk away.

25.   Then in August 2015, Defendant Grealish was in Plaintiff’s office and retrieved a

      cookie from her desk drawer, and he rubbed the cookie across his crotch area and

      threw the cookie at Plaintiff causing it to strike her in the head, and he screamed

      at Plaintiff “Fuck you, you Cunt!” and then kicked Plaintiff’s full trash can across

      the room and left the room.

26.   Plaintiff did nothing to invite, provoke, or deserve these offensive remarks and

      behaviors directed toward her in the work place by Grealish.

27.   Defendant Grealish engaged in these lewd, hostile, offensive, and threatening

      behaviors directed toward Plaintiff while he was employed by Defendant RFD at

      the Beaufort Pilot Fit Facility, and he did so in Plaintiff’s work place while in the

      presence of others who were employed by Defendants Rockwell and Lockheed.

28.   Following this second incident of being called a “cunt” by Defendant Grealish,

      which was viewed by Plaintiff as sexually hostile, discriminatory, rude, threatening,

      vulgar, and assaultive, Plaintiff again complained to the facility manager,

      Defendant Tincher.

29.   At the time that Plaintiff complained to Defendant Tincher in August 2015, she

      believed she was engaging in an appropriate protected activity by reporting

      misconduct and hostilities in the work place to a supervisor.

30.   At the time that Plaintiff complained to Defendant Tincher in August 2015, she

      explained in no uncertain terms that she objected to being called a “cunt” by Mr.



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      Grealish, and that she found such conduct to be offensive, hostile, and

      discriminatory based upon her sex as a female.

31.   At the time that Plaintiff complained to Defendant Tincher in August 2015, and

      during multiple subsequent encounters between Plaintiff and Defendant Tincher,

      Plaintiff was repeatedly given assurances and representations by Tincher that he

      was actively taking corrective action to end this harmful conduct and protect

      Plaintiff from same in the work place, such that Plaintiff believed that the matter

      did not need to be reported to anyone else.

32.   The assurances and representations given by Defendant Tincher to Plaintiff that

      corrective action was actively being taken turned out to be false and misleading,

      even though Plaintiff relied upon the truth of same.

33.   From the point where Plaintiff complained to her superiors in August 2015 that she

      felt discriminated against and subjected to a hostile work environment, stemming

      from being called a “cunt” in the work place multiple times in front of others, she

      was never treated the same in the work place.

34.   From the point where Plaintiff complained to her superiors in August 2015 that she

      felt discriminated against and subjected to a hostile work environment, the hostile

      and discriminatory conduct she was subjected to continued and worsened.

35.   During this time, the Defendants Tincher and Grealish would play video games

      and watch movies in their office to the exclusion of Plaintiff.

36.   During this time, Defendant Grealish would mock Plaintiff and roll his eyes anytime

      she would speak to someone in the same room with him.




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37.   During this time, Defendant Grealish would say to Plaintiff in the work place “See

      you next Tuesday” which is an acronym for the offensive word she had already

      complained of being called by Grealish.

38.   During this time, Defendant Grealish put Plaintiff in fear for her life and her personal

      safety and threatened her with imminent bodily harm.

39.   During this time, Defendant Grealish asked another employee at the facility to bring

      his personal handgun to work along with some ammunition so that he could do

      some target practice, and Defendant Grealish made these remarks while looking

      directly at Plaintiff in a threatening and frightening manner.

40.   During this time, Defendant Grealish repeatedly reminded Plaintiff in the presence

      of others that he wanted another employee to bring his handgun to work because

      he had bullets with Plaintiff’s name on them.

41.   All the while these events are occurring, Plaintiff is relying on the facility manager,

      Defendant Tincher, to take corrective action as he had pledged to do, but such

      never occurred.

42.   Plaintiff felt humiliated, threatened, offended, discriminated against, and was

      ultimately subjected to extreme emotional distress while in the work place at the

      hands of each and all of the Defendants herein.

43.   In November 2015, Plaintiff’s supervisor at Rockwell, Daniel Kalsow, made a visit

      from his office in Iowa to the facility in Beaufort where Plaintiff worked.

44.   During this visit in November 2015, Plaintiff expressed to Kalsow her ongoing

      concerns of sex discrimination, assault, hostile work environment, and

      unsatisfactory behaviors to which she was being subjected in the work place.



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45.   In response to Plaintiff’s complaints to Kalsow, he initially criticized Plaintiff for not

      telling him of this sooner.

46.   Then Kalsow pledged to investigate and take corrective action for the protection of

      Plaintiff’s safety given the repeated instances of threats of gun violence made

      against Plaintiff by Grealish.

47.   The complaints made by Plaintiff to Kalsow were a protected activity for which

      Defendant Rockwell could not retaliate against Plaintiff.

48.   After Plaintiff made her complaints known to Kalsow, he pledged to take

      appropriate corrective action as to Grealish and his superiors, but this too turned

      out to be a false promise.

49.   After Plaintiff made her complaints of sex discrimination, hostile work environment,

      and threats of gun violence against her by Grealish known to Kalsow, Grealish was

      suspended by his employer or someone acting on their behalf while the matter was

      investigated further.

50.   On Friday November 20, 2015, Kalsow sent a text message to Plaintiff advising

      her that Mr. Grealish will be back to work on Monday, with no explanation of why

      this return to work was permissible or deemed appropriate.

51.   When Mr. Grealish returned to work at the facility after apparently receiving no

      punishment whatsoever, Plaintiff continued to experience fear for her life and

      extreme emotional distress while at work.

52.   Plaintiff attempted to contact Kaslow several times to learn more information and

      also to express her extraordinary fears of being in the work place with Grealish,




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      but none of her phone calls or messages were ever responded to by Kaslow nor

      any of the Defendants.

53.   On December 4, 2015, Plaintiff had a nervous breakdown or emotional distress

      episode at work due to her continuing fears in the work place.

54.   When Plaintiff attempted to contact Kaslow about her continuing fears and

      emotional harm suffered, he simply replied by text stating “what now”.

55.   Later that same evening Kaslow ordered Plaintiff to book a flight to Rockwell home

      office in Iowa and be present in his office Monday morning December 7, 2015.

56.   Upon arrival at this meeting at Rockwell home office, Plaintiff was presented with

      a “Performance Recovery Plan” by Kaslow and others in the room all of whom

      were acting in behalf of Defendant Rockwell.

57.   This “Performance Recovery Plan” drafted by Defendant Rockwell was replete with

      inaccuracies, fabrications, exaggeration, and unfair criticisms of Plaintiff that were

      false and pretextual.

58.   This “Performance Recovery Plan” drafted by Defendant Rockwell was

      discriminatory against Plaintiff upon information and belief insofar her male

      counterparts in the same work facility had committed similar performance

      deficiencies as were accused to Plaintiff without being subjected to any similar

      penalties, discipline, or performance recovery plan.

59.   This “Performance Recovery Plan” drafted by Defendant Rockwell was presented

      to Plaintiff in direct retaliation by her employer by reason of Plaintiff making

      protected complaints of sex discrimination, hostile work environment, and threats

      of violence against her in the workplace.



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60.   Plaintiff refused to sign the “Performance Recovery Plan” presented to her by

      Defendant Rockwell, and explained her refusal was due to her belief that it was

      fabricated and retaliatory.

61.   At that point, multiple senior executives within Defendant Rockwell’s organization

      cautioned Plaintiff and expressed to her that they were not going to allow her to

      jeopardize their $4.7 Million Dollar contract with Lockheed Martin, and as a result,

      she was going to have to tolerate the work place environment to which she had

      been subjected and learn how to keep the members there from RFD and Lockheed

      happy.

62.   Also during this meeting with Kaslow and others at Rockwell to discuss this new

      “Performance Recovery Plan,” Kaslow informed Plaintiff that the facility manager

      employed by Lockheed was changing her work hours such that she would be

      required to arrive at work earlier at 7:30 am each morning.

63.   At all times Plaintiff was employed by Rockwell at the Beaufort Pilot Fit Facility, it

      was known and expressly agreed upon that Plaintiff’s start time at work could be

      no sooner than 8:00 am so that Plaintiff’s children could have safe transportation

      to school. This was a material term of Plaintiff’s employment by Rockwell that was

      known by all and expressly agreed upon at this facility.

64.   This new work start time was directed toward Plaintiff in direct retaliation by her

      employer by reason of Plaintiff making protected complaints of sex discrimination,

      hostile work environment, and threats of violence against her in the work place.




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65.   This new work start time upon information and belief was the product of a civil

      conspiracy engaged in by each and all of the Defendants herein who wanted to

      figure out a way to force Plaintiff to resign her position and leave this facility.

66.   Plaintiff then expressed to Kaslow that she refused to resign her position, that she

      was proud of and enjoyed her work at this facility, and that she wished to remain

      in her current position with the same work hours as previously set forth.

67.   Then, other executives within Rockwell’s organization attempted to coerce Plaintiff

      into resigning her position of employment.

68.   Plaintiff refused to accept Rockwell’s invitation for her resignation and then asked

      for a period of personal leave to gather her thoughts, which was approved by

      Rockwell.

69.   Rockwell, through Kaslow, then on December 13, 2015 advised Plaintiff that she

      would be required to work from home for the dates December 14-16, 2015 via text

      message.

70.   Rockwell terminated Plaintiff from employment on December 15, 2015.

71.   Rockwell’s termination of Plaintiff from her position of employment was in

      contravention of promises made to her by Tincher, Kaslow, and others that they

      were going to correct the hostile, offensive, and discriminatory work environment

      to which Plaintiff had been subjected while working for Rockwell at the Beaufort

      Pilot Fit Facility.

72.   Rockwell’s termination of Plaintiff was in direct retaliation of Plaintiff by reason of

      her having made protected complaints of sex discrimination, hostile work

      environment, and threats of violence against her in the work place.



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73.   Rockwell’s termination of Plaintiff was resultant from a civil conspiracy engaged in

      by each and all of the Defendants herein.

74.   Rockwell’s termination of Plaintiff was without just cause.

75.   Rockwell’s termination of Plaintiff was against and in violation of the public policy

      of the State of South Carolina.

76.   Rockwell’s termination of Plaintiff was discriminatory against Plaintiff because of

      her sex as a female.

77.   Plaintiff initiated her federal employment related claims against Defendant

      Rockwell by the filing of an EEOC Intake Questionnaire dated April 6, 2016, and a

      formal charge of discrimination was signed and filed by Plaintiff through the EEOC

      once completed by the EEOC on October 24, 2016.

78.   Subsequent the issuance of her charge of discrimination, Plaintiff’s charge was

      transferred by the EEOC to the South Carolina Human Affairs Commission for

      continued investigation and handling as of February 1, 2017, pursuant to EEOC

      Charge #415-2016-00565 and SHAC #1-17-72S/RET.

79.   Subsequent to the above, the State Human Affairs Commission issued to Plaintiff

      a Notice of Right to Sue letter on June 8, 2017.

80.   Subsequent to the above, the United States Equal Employment Opportunity

      Commission issued to Plaintiff a Notice of Right to Sue letter on July 27, 2017.

81.   Plaintiff has exhausted her administrative remedies applicable to her federal

      employment related claims, and she has met all necessary conditions precedent

      to filing this lawsuit, and this lawsuit is timely filed.




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82.   This court has jurisdiction over all of the subject matter and the parties alleged and

      joined herein.

83.   All of the party Defendants set forth in this Complaint are correctly identified and

      joined in this action.

84.   The causes of action raised herein arise in part under Title VII of the Civil Rights

      Act of 1964, 42 U.S.C. Section 2000e et. seq., and South Carolina state law.

85.   All of the allegations set forth above and below in this Complaint shall be restated

      and incorporated as to all parties and all causes of action raised herein.



                           FOR A FIRST CAUSE OF ACTION

(Title VII – Unlawful harassment, discrimination, hostile environment, retaliation)

                                 (Defendant Rockwell)

86.   Defendant Rockwell is engaged in an industry affecting commerce and had more

      than 100 employees for each working day in each of twenty or more calendar

      weeks in the current or preceding calendar year.

87.   Plaintiff was at all times relevant herein an employee of Defendant Rockwell.

88.   Title VII of the Civil Rights Act of 1964 prohibits employers from discriminating

      against individuals with respect to the terms, conditions, or privileges of

      employment because of such individual’s sex.

89.   Title VII evinces a congressional intent to strike at the entire spectrum of disparate

      treatment of men and women in employment.

90.   An employee’s work environment is a term or conditions of employment.

91.   An employee’s work hours constitute a term or condition of employment.



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92.   A valid Title VII claim for unlawful sexual harassment in the work place is presented

      when a female Plaintiff demonstrates that there was offending conduct that was

      unwelcome, was based on her sex, was sufficiently severe or pervasive to alter

      the conditions of her employment and create an abusive work environment and

      was imputable to her employer.

93.   It is offensive, vulgar, hostile, and unwelcome for a female to be called a “cunt” in

      the work place.

94.   Sara was called this vulgar expletive multiple times in the work place, and she

      alone as the only female in this facility was subjected to such conduct.

95.   It is offensive, vulgar, hostile, and unwelcome for a female to be threatened with

      gun violence in the work place.

96.   Sara was subjected to being threatened with gun violence in the work place

      multiple times by a male counterpart who was persistently harassing her, and no

      others at this facility were subject to such threats and intimidation.

97.   The conduct at this facility which Sara was subjected to was objectively and

      subjectively so severe and pervasive that it altered the conditions of her

      employment and created an abusive and hostile working environment.

98.   The conduct at this facility which Sara was subjected to was permeated with

      discriminatory intimidation, ridicule, and insult, all of which was sexually motivated.

99.   At the time of the events described herein, Sara was made to be a target for

      discrimination, humiliation, intimidation, ridicule, harassment, open hostility, and

      insult because she was subjected to being called sex specific insults such as “cunt”

      in an open manner and also threatened with gun violence.



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100.   The purpose behind Title VII protections for women in the work place include the

       protection of women from the kind of male attentions that can make the workplace

       hellish for women.

101.   All of the harassment, discrimination, and hostilities suffered by Plaintiff in the work

       place as described herein are imputable to her employer, including particularly the

       conduct of Grealish and Tincher, by reason of Rockwell having actual knowledge

       of the conduct and failing to take any effective action to correct it, and also by

       reason of their contractual relationships with Defendants RFD and Lockheed.

102.   Despite notice and complaints by Plaintiff about Brian Grealish’s conduct exacted

       toward her in the work place, Defendant Rockwell failed to take any action

       reasonably calculated to prevent sexual harassment or discrimination and

       permitted a work environment to exist that was sexually charged, hostile, violent,

       and offensive to Plaintiff.

103.   The Defendants’ creation and condoning of a hostile and discriminatory work

       environment, and their failure to correct same, caused Plaintiff to suffer extreme

       emotional pain and suffering, mental anguish, loss of enjoyment of life, loss of

       income, and is further the type of malicious, reckless, and indifferent conduct

       worthy of the imposition of punitive damages against Defendants herein.

104.   Title VII also protects discrimination or retaliation against an employee because

       she has opposed any practice made an unlawful employment practice by this

       subchapter, or because she has made a charge or complaint about unlawful or

       discriminatory behaviors in the work place.




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105.   When Sara raised her complaints of sex discrimination, hostile work environment,

       harassment, and threats of violence against her in the work place to her

       employment supervisor Kaslow at Rockwell, she was engaged in a protected

       activity in raising these complaints to her employer.

106.   Defendant Rockwell retaliated against Plaintiff in response to her good faith

       complaints of improper and unwelcome work place hostilities directed toward her,

       by concocting a “Performance Recovery Plan”, and by changing her work hours,

       and by refusing to correct the conduct of which she complained, and by ultimately

       terminating her employment.

107.   Defendant Rockwell, through the condoning and participating in all of the events

       described herein, is liable to Plaintiff for civil legal remedies stemming from the

       unlawful harassment, sex discrimination, and retaliation directed toward Plaintiff.

108.   As a direct and proximate result of the conduct to which she was subjected in the

       work place as described herein, Plaintiff has been harmed substantially, and

       Defendant Rockwell is liable to Plaintiff for actual damages, for punitive damages,

       for pre judgment interest, for post judgment interest, for the costs of this action, for

       attorney fees, and for such other and further relief as this Court deems appropriate.

                             FOR A SECOND CAUSE OF ACTION

                                      (Wrongful Discharge)

                                      (Defendant Rockwell)

109.   Under South Carolina law, there is a clear public policy in favor of encouraging

       female employees to raise good faith complaints of sexual harassment, sexual




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       discrimination, hostile work environment, and threats of criminal conduct or gun

       violence when such occurs in the work place.

110.   Under South Carolina law, there is a clear public policy in favor of permitting female

       employees to raise good faith complaints of unwelcome sexually charged threats,

       hostilities, and vulgarities when such is experienced in the work place.

111.   Female employees must be able to raise these complaints to their superiors and

       to their employers without fear of retribution or retaliation.

112.   By the conduct and events described herein, Plaintiff was subjected to frequent

       intimidation, ridicule, harassment, threats, discrimination, and insults.

113.   Plaintiff’s initial complaints about this conduct and work environment fell on deaf

       ears when she first complained to the facility manager Tincher, so she then raised

       her complaints to her employer Rockwell.

114.   Following her good faith reporting of unlawful conduct in the work place, Defendant

       Rockwell wrongfully discharged Plaintiff from employment in violation of public

       policy.

115.   As a direct and proximate result of Plaintiff’s wrongful discharge from employment

       in violation of public policy as described herein, Plaintiff has been harmed

       substantially, and Defendant Rockwell is liable to Plaintiff for actual damages, for

       punitive damages, for pre judgment interest, for post judgment interest, for the

       costs of this action, for attorney fees, and for such other and further relief as this

       Court deems appropriate.




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                               FOR A THIRD CAUSE OF ACTION

                         (Intentional Infliction of Emotional Distress)

                                 (Defendants Grealish and RFD)

116.   By their conduct described herein, both by the directing of sexual hostilities,

       offensive remarks, and threats of violence against Plaintiff herein, and/or by their

       condoning of such conduct and failing to take appropriate corrective action,

       Defendants Grealish and RFD herein have intentionally or recklessly inflicted

       severe emotional distress upon Plaintiff.

117.   The conduct described herein by Defendant Grealish, and by association and

       agency relationship his employer RFD, was so extreme and outrageous as to

       exceed all possible bounds of decency and must be regarded as atrocious and

       utterly intolerable in a civilized community.

118.   The actions Defendants Grealish and RFD herein as directed and carried out

       toward Plaintiff proximately caused Plaintiff to suffer severe emotional distress and

       mental anguish to a level so severe that no reasonable person could be expected

       to endure such.

119.   As a direct and proximate result of the intentional and reckless infliction of severe

       emotional distress upon Plaintiff as described herein, Plaintiff has been harmed

       substantially, and Defendants Grealish and RFD herein are liable to Plaintiff for

       actual damages, for punitive damages, for pre judgment interest, for post judgment

       interest, for the costs of this action, for attorney fees, and for such other and further

       relief as this Court deems appropriate.




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                             FOR A FOURTH CAUSE OF ACTION

                                        (Civil Conspiracy)

                                         (All Defendants)

120.   Once Plaintiff raised her complaints and objections to the Defendants herein about

       misconduct and hostilities in the work place directed toward her, the Defendants

       herein engaged in a civil conspiracy against Plaintiff for the specific purpose of

       causing her harm and removing her from the work place.

121.   The Defendants herein, each and all of them, combined their efforts to discredit,

       intimidate, harass, and otherwise influence Plaintiff into either resigning her

       position of employment or terminating same.

122.   This unlawful civil conspiracy was engaged in by each and all of the Defendants

       herein for the purposes of protecting their male dominated team at the Beaufort

       Pilot Fit Facility, and also protecting their mutual contractual interests as corporate

       actors, and also ruin Plaintiff to the point where she could no longer work there.

123.   This civil conspiracy engaged in by each and all of the Defendants herein caused

       Plaintiff to suffer special harms and damages separate and apart from the loss of

       her job, loss of benefits, and the emotional harm she suffered in the work place.

124.   The special damages caused to Plaintiff herein that proximately resulted from the

       civil conspiracy engaged in between and among each and all Defendants include,

       but are not limited to, interruption of her normal schedule and family life to fly to

       Rockwell’s home office in Iowa on short notice, cancellation of weekend plans with

       her family to accommodate the Defendants’ immediate decision to fly Plaintiff to



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       her employer’s home office the next business day, being placed on a Performance

       Recovery Plan as a means of retaliation and without justification from her

       employer, changes in her work schedule that the Defendants knew would create

       difficulties if not impossibilities for her, the worry and angst of having to pay for or

       arrange for alternate school transportation plans for her children due to an earlier

       work start time that was in contravention of what was promised to her, and other

       items of special harm that may be revealed by discovery and are separate from

       the loss of job, loss of benefits, and emotional harm caused to Plaintiff.

125.   As a direct and proximate result of the civil conspiracy exacted toward Plaintiff by

       the Defendants as described herein, Plaintiff has been harmed substantially, and

       each and all of the Defendants are jointly and severally liable to Plaintiff for actual

       damages, for punitive damages, for pre judgment interest, for post judgment

       interest, for the costs of this action, for attorney fees, and for such other and further

       relief as this Court deems appropriate.

                               FOR A FIFTH CAUSE OF ACTION

                                              (Assualt)

                                 (Defendants Grealish and RFD)

126.   By his conduct in repeatedly threatening Plaintiff with gun violence, and by

       throwing objects at her and striking her with same while yelling profanities and

       vulgarities, Defendant Grealish placed Plaintiff in reasonable fear of bodily harm.

127.   At all times described herein, Defendant Grealish was acting in the course and

       scope of his employment with Defendant RFD.




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128.   Defendant RFD is vicariously liable for the conduct of its agent and employee Brian

       Grealish as described herein.

129.   As a direct and proximate result of the assault directed toward Plaintiff by

       Defendants Grealish and RFD as described herein, Plaintiff has been harmed

       substantially, and Defendants Grealish and RFD are jointly and severally liable to

       Plaintiff for actual damages, for punitive damages, for pre judgment interest, for

       post judgment interest, for the costs of this action, for attorney fees, and for such

       other and further relief as this Court deems appropriate.

                               FOR A SIXTH CAUSE OF ACTION

                                 (Negligent Misrepresentation)

                             (Defendants Tincher and Lockheed)

130.   Once Plaintiff raised her complaints and objections to the Defendant Tincher, and

       by association and agency relationship Defendant Lockheed, about the

       misconduct and hostilities in the work place directed toward her, she was given

       assurances and representations by Tincher, and by association and agency

       relationship Defendant Lockheed, that corrective action was ongoing such that she

       would be protected in the work place and there was no need for Plaintiff to report

       her complaints to anyone else.

131.   On multiple occasions, Plaintiff reminded Defendant Tincher that Defendant

       Grealish was mistreating her with threats, hostilities, vulgarities, discrimination,

       and offensive and assaultive behaviors, and Defendant Tincher repeatedly

       assured Plaintiff that he was taking care of it.




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132.   The representations and assurances made by Defendant Tincher to Plaintiff about

       ongoing corrective action related to past events and pre-existing facts, and led

       Plaintiff to believe that Defendants Tincher and Lockheed were actively engaged

       in disciplining or dismissing or otherwise correcting the behaviors to which she was

       subjected in the work place.

133.   At all times herein, Defendant Tincher was acting in the course and scope of his

       employment with Defendant Lockheed, and pursuant to his agency relationship

       with Lockheed, and also pursuant to his position as facility manager at the Beaufort

       Pilot Fit Facility.

134.   At multiple points after her complaints were raised, Defendant Tincher, and by

       association and agency relationship Defendant Lockheed, provided Plaintiff with

       assurances and representations that appropriate corrective measures were

       ongoing and were being taken such that she would be protected in her work place.

135.   These representations made by these Defendants Tincher and Lockheed to

       Plaintiff were false, and these Defendants knew them to be false at the time made

       because they never intended to break up this male dominated team at the Beaufort

       Pilot Fit Facility.

136.   Due to their close working relationships and contractual ties to this facility, each

       and all of these Defendants owed Plaintiff a duty of communicating truthful

       information to her at all times.

137.   These Defendants, Tincher and Lockheed, breached their duty of care owed to

       Plaintiff by making false promises and representations to her, and these




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       Defendants had pecuniary interests of their own to serve by making these false

       statements and representations to Plaintiff.

138.   Plaintiff had a right to rely on these promises and representations made by these

       Defendants, and Plaintiff did indeed rely upon the truth of same to her detriment.

139.   As a direct and proximate result of the negligent misrepresentations made to

       Plaintiff by Defendants Tincher and Lockheed, Plaintiff has suffered pecuniary

       losses and other damages.

140.   Due to the negligent misrepresentations set forth herein, Defendants Tincher and

       Lockheed are jointly and severally liable to Plaintiff for actual damages, for punitive

       damages, for pre judgment interest, for post judgment interest, for the costs of this

       action, for attorney fees, and for such other and further relief as this Court deems

       appropriate.




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       WHEREFORE, having raised her Amended Complaint herein, Plaintiff prays this

Court inquire into the matters set forth herein and grant her judgment against each and

all of the Defendants, Rockwell Collins, Inc.; Lockheed Martin Corp.; RFD Beaufort, Inc.;

Lee Tincher; Brian Grealish; all jointly and severally or as otherwise indicated and set

forth above, for actual and compensatory damages, for punitive damages, for pre

judgment interest, for post judgment interest, for the costs of this action, for attorney fees,

and for such other and further relief as this Court deems just and appropriate.



                                               /s/ Patrick W. Carr
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